         Case 5:22-cv-00067-JKP-HJB Document 5 Filed 02/17/22 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

FERNANDO ANDRADE,              §
    Plaintiff,                 §
                               §
v.                             §                          Civil Action No. 5:22-CV-00067-JKP
                               §
FLAGSTAR BANK, F.S.B.,         §
DEFENDANT, AND ISREAL SAUCEDO, §
SUBSTITUTE TRUSTEE,            §
     Defendants.               §


                                  JOINT STIPULATION OF DISMISSAL

        Plaintiff Fernando Andrade (“Plaintiff”) and Flagstar Bank, FSB (“Flagstar”)

(“collectively the “Parties”) have reached an agreement allowing all claims asserted by the

Parties to be dismissed with prejudice.

Dated: February 17, 2022

        WHEREFORE, PREMISES CONSIDERED, the Parties request that this Court enter an

order dismissing Plaintiff’s claims in this lawsuit with prejudice.

Respectfully submitted,

/s/ Crystal G. Gibson
Crystal G. Gibson                                     /s/ Fernando Andrade w/permission
State Bar No.: 24027322                               Fernando Andrade
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Joint Stipulation of Dismissal                                                            Page 1 of 1
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